                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI

MICHAEL WIDMAN                             )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )      JURY TRIAL DEMANDED
                                           )
NPAS SOLUTIONS, LLC                        )
                                           )
       Defendant.                          )


                                       COMPLAINT

       NOW COMES the Plaintiff, Michael Widman ("Plaintiff"), by and through undersigned

counsel, and for her complaint against the Defendant, NPAS Solutions, LLC. ("Defendant

NPAS"), Plaintiff states as follows:

                              PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages, costs and attorney's fees

brought pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

("FDCPA").

                                JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692 et seq., and

pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367.

       3.      Venue is proper in this district in that Plaintiff resides here, Defendant

NPAS transacts business here, and the conduct complained of occurred here.

                                         PARTIES

       4.      Plaintiff is a natural person who resides in Harrisonville, Missouri.

       5.      Plaintiff is a "consumer" as that term is defined by 15 U.S.C. §1692a(3).


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         6.      Defendant NPAS is a business entity engaged in the collection of consumer

debt within the State of Missouri.

         7.      Defendant NPAS is a foreign limited liability company registered to do

business in Missouri with a business address of P.O. Box 2248, Maryland Heights, MO

63043.

         8.      Defendant NPAS is a "debt collector" as that term is defined by 15 U.S.C. §

1692a(6).

                                      ALLEGATIONS

         9.      Plaintiff repeats, re-alleges, and incorporates by reference all paragraphs

above as if fully rewritten here.

         10.     Upon information and belief, on or about December 14, 2012, Plaintiff

incurred a debt to Research Medical Center (“Research debt”).

         11.     Plaintiff fell behind on her payments, and was ultimately a defendant in a

Cass County Missouri collection lawsuit (14CA-AC01977). SEE EXHIBIT 1. Plaintiff

retained counsel and settled that aforementioned lawsuit in full.

         12.     On or about June 10, 2015, Plaintiff satisfied her Research debt and a

“DISMISSAL WITH PREJUDICE” was filed by RESEARCH MEDICAL CENTER, by

and through their attorney. SEE EXHIBIT 2. The details of that settlement are that

Research Medical Center accepted $750 as payment in full for the alleged amount due,

$1,698.80. SEE EXHIBIT 3

         13.     On or about June 10, 2015, Plaintiff received documentation releasing her

of any liability concerning the Research debt.



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       14.    On or about September 3, 2015, Defendant NPAS contacted Plaintiff via a

written letter concerning the Research debt. SEE EXHIBIT 4. The letter alleged Plaintiff

owed nine hundred forty-eight dollars and eighty cents ($948.80), the exact amount

forgiven from the settlement agreement.

       15.    Plaintiff was alarmed to discover that Defendant NPAS was trying to

collect on the Research debt as it had already been satisfied.

       16.    Through this communication, Defendant NPAS misled Plaintiff by

demanding payment on a debt that was no longer valid.

       17.    These communication practices constituted violations of the FDCPA.

                               FIRST CLAIM FOR RELIEF

                              Violation of 15 U.S.C. § 1692e(2)

       18.    Plaintiff repeats, re-alleges, and incorporates by reference all paragraphs

above as if rewritten here.

       19.   Pursuant to the “Congressional findings and declaration of purpose” section

of the FDCPA, “[t]here is abundant evidence of the use of abusive, deceptive, and unfair

debt collection practices by many debt collectors. Abusive debt collection practices

contribute to the number of personal bankruptcies, to marital instability, to the loss of

jobs, and to invasions of individual privacy.” See 15 U.S.C. § 1692.

       20.   Plaintiff has been subjected to deceptive and unfair debt collection practices

as outlined below which have imposed upon her injury and loss.




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       21.    The FDCPA states, "a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.” See

15 U.S.C. § 1692e.

       22.    Further, the FDCPA protects consumers against, “The false representation

of the character, amount, or legal status of any debt.” 1692e Id.

       23.    Defendant NPAS, by and through its employees, misled Plaintiff by

demanding payment.

       24.    Plaintiff did not owe the Research debt and Defendant NPAS falsely

misrepresented the status of the debt by continuing to state it was unsatisfied.

       25.    This misrepresentation constituted a violation of the FDCPA.

       WHEREFORE Plaintiff prays for judgment on this FIRST CLAIM FOR

RELIEF in her favor and against Defendant NPAS, and for the following relief:

       a) Actual damages sustained pursuant to 15 U.S.C. § 1692k(a)(1);

       b) Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

       c) Attorney's fees and costs pursuant to 15 U.S.C. § 1692k(a)(3); and

       d) Any further relief deemed appropriate by this Honorable Court.



                            SECOND CLAIM FOR RELIEF

                              Violation of 15 U.S.C. § 1692e

       26.    Plaintiff repeats, re-alleges, and incorporates by reference all paragraphs

       above as if rewritten here.

       27.   Pursuant to the “Congressional findings and declaration of purpose” section



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of the FDCPA, “[t]here is abundant evidence of the use of abusive, deceptive, and unfair

debt collection practices by many debt collectors. Abusive debt collection practices

contribute to the number of personal bankruptcies, to marital instability, to the loss of

jobs, and to invasions of individual privacy.” See 15 U.S.C. § 1692.

       28.   Plaintiff has been subjected to deceptive and unfair debt collection practices

as outlined below which have imposed upon her injury and loss.

       29.    The FDCPA states, "a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.” See

15 U.S.C. § 1692e.

       30.    Further, the FDCPA protects consumers against, “The false representation

of the character, amount, or legal status of any debt.” 1692e Id.

       31.    Defendant NPAS, by and through its employees, misled Plaintiff by

demanding payment.

       32.    Plaintiff did not owe the Research debt and Defendant NPAS falsely

misrepresented the status of the debt by continuing to state it was unsatisfied.

       33.    This misrepresentation constituted a violation of the FDCPA.

       WHEREFORE Plaintiff prays for judgment on this SECOND CLAIM FOR

RELIEF in her favor and against Defendant NPAS, and for the following relief:

       a) Actual damages sustained pursuant to 15 U.S.C. § 1692k(a)(1);

       b) Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

       c) Attorney's fees and costs pursuant to 15 U.S.C. § 1692k(a)(3); and

       d) Any further relief deemed appropriate by this Honorable Court.



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                             THIRD CLAIM FOR RELIEF

                            Violation of 15 U.S.C. § 1692f(1)

       34.    Plaintiff repeats, re-alleges, and incorporates by reference all paragraphs

       above as if rewritten here.

       35.   Pursuant to section 1692f(1), the FDCPA prohibits the unfair or

unconscionable means to collect or attempt to collect any debt. Without limiting the

general application of the act, the following conduct is a violation of the FDCPA, “The

collection of any amount (including any interest, fee, charge, or expense incidental to the

principal obligation) unless such amount is expressly authorized by the agreement

creating the debt or permitted by law.” See 15 U.S.C. § 1692.

       36.   Plaintiff has been subjected to collection efforts that are deceptive and unfair

as the alleged debt is no longer viable or permitted by law. Allowing this collection to

continue would violate the settlement agreement and established law.

       37.    The FDCPA states, "a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.” See

15 U.S.C. § 1692e.

       38.    Further, the FDCPA protects consumers against, “The false representation

of the character, amount, or legal status of any debt.” 1692e Id.

       39.    Defendant NPAS, by and through its employees, misled Plaintiff by

demanding payment.

       40.    Plaintiff did not owe the Research debt and Defendant NPAS falsely

misrepresented the status of the debt by continuing to state it was unsatisfied.



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          41.   This misrepresentation constituted a violation of the FDCPA.

          WHEREFORE Plaintiff prays for judgment on this THIRD CLAIM FOR

RELIEF in her favor and against Defendant NPAS, and for the following relief:

          a) Actual damages sustained pursuant to 15 U.S.C. § 1692k(a)(1);

          b) Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

          c) Attorney's fees and costs pursuant to 15 U.S.C. § 1692k(a)(3); and

          d) Any further relief deemed appropriate by this Honorable Court.



                                      JURY DEMAND

          42.   Plaintiff is entitled to and hereby respectfully demands a trial by jury on all

issues.

                          DESIGNATION OF PLACE OF TRIAL

          43.   Plaintiff requests a trial be held in Kansas City, Missouri.



                                            Respectfully submitted,

Date: October 6, 2015                       CREDIT LAW CENTER LLC

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